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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              4:13-CR-3130

vs.
                                                               ORDER
RAMON GARCIA,

                    Defendant.

      The defendant's motion to proceed on appeal in forma pauperis (filing
180) is granted, and the defendant is permitted to proceed on appeal in forma
pauperis.1

      Dated this 27th day of February, 2014.

                                               BY THE COURT:



                                               John M. Gerrard
                                               United States District Judge




1 The motion was docketed as a motion "to Appoint Counsel and to Proceed in Forma
Pauperis," but does not actually contain a request to appoint counsel. To the extent the
motion was intended as a request to appoint counsel, it is denied without prejudice to
reassertion of such a motion to the Court of Appeals for the Eighth Circuit.
